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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

VERDELL TERRIA JONES,

             Plaintiff,

v.                                                 CASE NO. 3:17-cv-603-J-39MCR

STATE OF FLORIDA, et al.,

          Defendants.
________________________________/

                          REPORT AND RECOMMENDATION1

      THIS CAUSE is before the Court on Plaintiff’s Application to Proceed in

District Court Without Prepaying Fees or Costs (“Application”) (Doc. 1). For the

reasons stated herein, the undersigned recommends that the Application be

DENIED and the case be DISMISSED without prejudice.

      I.     Allegations in the Complaint

      Pro se Plaintiff, Verdell Terria Jones, brings this “Action for Trespass and

Trespass on the Case” against the following Defendants: State of Florida,

Attorney General, Public Defender, County of Duval, County of Suwannee,



      1
        “Within 14 days after being served with a copy of [this Report and
Recommendation], a party may serve and file specific written objections to the
proposed findings and recommendations.” Fed.R.Civ.P. 72(b)(2). “A party may
respond to another party’s objections within 14 days after being served with a copy.” Id.
A party’s failure to serve and file specific objections to the proposed findings and
recommendations alters the scope of review by the District Judge and the United States
Court of Appeals for the Eleventh Circuit, including waiver of the right to challenge
anything to which no specific objection was made. See Fed.R.Civ.P. 72(b)(3); 28
U.S.C. § 636(b)(1)(B); 11th Cir. R. 3-1; M.D. Fla. R. 6.02.
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County of Columbia, Federal Bureau [of] Investigation, Prosecutor, Katy Land,

and Kevin Frien [sic]. (Doc. 2.) In the body of the Complaint, Plaintiff also names

as Defendants the following entities and individuals: Florida Highway Patrol, City

of Jacksonville, JSO officer, Defendant Toomey, and Defendant Rosenblum.

(See id.) Plaintiff alleges that she “is not a U.S. Citizen, U.S. person or

corporation,” but rather “a non-citizen national of the united [sic] States of

America, a people on the land.”2 (Id. at 3.)

       Plaintiff alleges that “[e]ach defendant exceeded jurisdiction under color of

law by either directly, or through an agent, or in concert with another, in an

attempt to unlawfully, forcefully and vindictively prosecute claimant for daring to

enforce [her] natural and constitutional rights.” (Id. at 2.) Plaintiff claims that her

Constitutional rights and state and federal statutes have been violated.3 (Id.)

More specifically, Plaintiff alleges:

       13.    On April 10, 2017 claimant was returning home from work
              “traveling” south, while defendant JSO officer was “driving”
              northbound in the opposite lane. Claimant was traveling
              behind two other automobiles when defendant JSO officer


       2
         Essentially, Plaintiff considers herself to be a “sovereign citizen.” As Judge
Toomey noted, sovereign citizens “believe they are not subject to the jurisdiction of the
courts and [] frequently deny that they are the defendants in the action, instead referring
to themselves as third-party intervenors . . . . Courts have been confronted repeatedly
by their attempts to delay judicial proceedings and have summarily rejected their legal
theories as frivolous.” (Doc. 69 at 2 n.4 in Case No. 3:17-cr-58-J-39JBT (citing
United States v. Sterling, 738 F.3d 228, 233 n.1 (11th Cir. 2013)).)
       3
        Plaintiff cites to 18 U.S.C. § 241 (Conspiracy Against Rights), § 242
(Deprivation of Rights Under Color of Law).

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                 slammed on the breaks of the Florida JSO officer “vehicle”
                 making a dangerously abrupt U-turn in the middle of the
                 highway.
       14.       Defendant JSO officer came up on claimant and followed me
                 to Lem Turner rd. [sic] I went home and went inside. At
                 9:00pm officer lefted [sic]. Around 5:50 Am [sic] Kevin Frien
                 [sic] demanded claimant’s [sic] “open the front door” [sic]
                 Claimant was in fear for personal safety due to defendant
                 Friens’s [sic] highly aggressive and agitated demeanor
                 coupled with defendant’s threatening body language (including
                 placing hand on his sidearm). Defendant ordered claimant,
                 “Get out of the bathroom”; under extreme duress and great
                 fear for my life claimant complied with the defendant’s order.,
                 [sic] Defendant kicked the door in [sic] put the gun to the
                 children [sic] head [sic] And [sic] told them to get there fucking
                 hands up from under the covers.
       15.       Claimant exited her bathroom and moved out of the house to
                 the front porch as directed under defendant Frien’s [sic] order.
       16.       Defendant handed claimant shoes to put on my feet [sic] took
                 my blue box without permission [sic] taken [sic] device under
                 threat of violence.
       17.       Defendant demanded you will go to jail!” [sic] Claimant
                 complied with defendant’s coercive threat of force, seizure of
                 private property, unlawful arrest and incarceration.
       19.       Defendant unlawfully obstructed claimant from her private
                 property under duress. . . .
       20.       Defendant Frien [sic] falsely swore in an affidavit that he had
                 probable cause to detain claimant and referred to claimant as
                 a “person” who committed “offenses contrary to law”. [sic]

(Id. at 3-4.)4

       Plaintiff then proceeds to her second cause of action – “trespass on case,”

where she alleges that on April 11, 2017, she “was in the inferior court . . . on

special appearance under duress for fear of violence from defendants standing

before defendant.” (Id. at 4.) Specifically, Plaintiff alleges:

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           The numbering of the paragraphs is exactly as it appears in the Complaint.

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        24.   Defendant Toomey asked claimant, “Do you plea [sic] ‘guilty’
              or ‘not guilty’?” Defendant Rosenblum failed to instruct
              claimant concerning a plea of ‘no contest’ nor did he inform
              claimant of his [sic] right to object to the statutes. Claimant
              objected to the demand for a plea and further objected that the
              court was not a constitutionally compliant court of record nor
              [sic]
        26.   Defendant Toomey then entered a false statement on the
              inferior court’s record claiming claimant had entered a plea of
              “not guilty to the false statement made by Defendant
              Rosenblum (on his [sic] behalf) who acted in conflict by
              advocating for the claimant while presiding on the bench for
              the State.
        25.   Defendant Toomey appointed defendant Rosenblum to
              represent claimant in subsequent proceedings for Case
              No.3:17-cr-58-J-39JBT. Claimant objected.
        26.   Defendant Rosenblum failed to proceed according to the
              common law as required, and instead participated in a fraud to
              aid a corporation to extort the private property of claimant.

(Id.)

        In her third cause of action for trespass, Plaintiff incorporates all preceding

allegations and further alleges that on April 13, 2017, she “was back in the inferior

court by special appearance under duress for fear of violence from defendants

standing before defendant Toomey.” (Id. at 5.) In conclusion, Plaintiff requests

“a declaratory judgment ordering the State of Florida and all its subdivisions,

municipalities,” etc. to update their records removing Plaintiff from their respective

jurisdictions; “a declaratory judgment that defendants have acted contrary to

constitutional right, power or privilege” and that their “actions were in excess of

statutory jurisdiction, authority and short of statutory right”; a permanent injunction

against Defendants for “interfering with claimant’s lawful right of free travel”; a

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return of Plaintiff’s passport; “a judgment dismissing the cause in the Federal

Court under the case number 3:17-cr-58-J-39JBT for which claimant was

arrested”; an order requiring Defendants Rosenblum, Toomey, and Frien [sic] to

produce evidence; and judgment for costs and interest. (Id. at 5-6.)

       II.    Standard

       A court receiving an application to proceed in forma pauperis must dismiss

the action sua sponte if the action “(i) is frivolous or malicious; (ii) fails to state a

claim on which relief may be granted; or (iii) seeks monetary relief against a

defendant who is immune from such relief.” 28 U.S.C. § 1915(e)(2)(B). A

complaint is frivolous if the plaintiff’s realistic chances of ultimate success are

slight. Clark v. Ga. Pardons & Paroles Bd., 915 F.2d 636, 639 (11th Cir. 1990).

       A complaint fails to state a claim on which relief may be granted if it fails to

include “a short and plain statement of the claim showing that the pleader is

entitled to relief.” Harper v. Lawrence Cnty., Ala., 592 F.3d 1227 (11th Cir. 2010)

(citing Fed.R.Civ.P. 8(a)(2) & 12(b)(6)). To show entitlement to relief, Plaintiff

must include a short and plain statement of facts in support of her claims.

Fed.R.Civ.P. 8(a). This statement of facts must show the plausibility of Plaintiff’s

claim. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “[L]abels and conclusions”

are not enough to satisfy the “plausibility” standard. Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555 (2007). Further, to “promote clarity, each claim

founded on a separate transaction or occurrence . . . must be stated in a separate

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count.” Fed.R.Civ.P. 10(b).

      III.   Discussion

      Even when construed liberally,5 the Complaint fails to adequately state the

basis for the Court’s jurisdiction, fails to state a claim on which relief may be

granted, and appears frivolous. Assuming that this Court has original jurisdiction

over this case,6 Plaintiff has not adequately alleged how each named Defendant

has violated her rights. Given that many, if not all, of the named Defendants are

state or federal government entities or their employees, who are/were allegedly

involved in Plaintiff’s arrest and ongoing criminal prosecution, it appears that

these Defendants may be immune from suit.

      It is appropriate to take judicial notice of the criminal case against Ms.

Jones pending in this District, Case No. 3:17-cr-58-J-39JBT, in order to better

understand her allegations in the present case. See, e.g., Horne v. Potter, 392 F.

App’x 800, 802 (11th Cir. Aug. 16, 2010) (per curiam) (finding that the district

court properly took judicial notice of the documents in plaintiff’s first case); Key v.

Romeoville Police Dep’t, Case No. 15 C 9266, 2016 WL 4765710, *2 (N.D. Ill.

Sept. 13, 2016) (taking judicial notice of the docket in a criminal case against



      5
        The pleadings of pro se litigants, like Plaintiff, must be construed liberally and
“are held to less stringent standards than formal pleadings drafted by lawyers.” Hughes
v. Rowe, 448 U.S. 5, 9 (1980) (per curium).
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        Plaintiff cites to 18 U.S.C. § 241 (Conspiracy Against Rights) and § 242
(Deprivation of Rights Under Color of Law).

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plaintiff). In the criminal case, Judge Davis is the assigned District Judge, Judge

Toomey is the assigned Magistrate Judge, Kevin Frein is the Assistant United

States Attorney prosecuting the case (with Michael Coolican as co-counsel), and

Mark Rosenblum is the Assistant Federal Public Defender currently designated

as standby counsel.

      The docket of the pending federal criminal case indicates that a federal

grand jury charged Ms. Jones with ten counts of fictitious obligations fraud in

violation of 18 U.S.C. § 514(a)(2), she was arrested on April 11, 2017, and she

was seen by Judge Toomey that day for an initial appearance, at which time the

Court appointed the Federal Public Defender to represent her. On April 13, 2017,

Judge Toomey saw Plaintiff for an arraignment/detention hearing, at which time

she entered a plea of not guilty to all counts in the Indictment and an unsecured

appearance bond was set in the amount of $10,000, with no deposit required to

the Registry of the Court. Subsequently, Plaintiff surrendered her passport to the

custody of the Clerk of Court. On June 29, 2017, Judge Toomey granted the

Federal Defender’s Motion to Withdraw, but ordered Mr. Rosenblum to act as

standby counsel until further order of the Court.

      The docket of the federal criminal case also indicates that on July 28, 2017,

a warrant for Ms. Jones’s arrest was issued by Columbia County, Florida, for

unlawful filing with intent to defraud or harass. (See Doc. 62 in Case No. 3:17-cr-

58-J-39JBT.) As of August 21, 2017, Ms. Jones was apparently in state custody.

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(See Doc. 68 in Case No. 3:17-cr-58-J-39JBT.) On August 23, 2017, she was

arrested on a federal arrest warrant on a Petition for Action on Conditions of

Pretrial Release and Addendum to Violation Report dated August 3, 2017 and

Second Addendum to Violation Report dated August 23, 2017. (Doc. 70 in Case

No. 3:17-cr-58-J-39JBT.) On August 25, 2017, Judge Toomey denied the

Government’s oral motion to revoke Ms. Jones’s bond, but modified the Release

Order to prohibit Ms. Jones from filing documents in the official records of any

county in Florida or elsewhere without prior permission of the Court. (Doc. 76 in

Case No. 3:17-cr-58-J-39JBT.) Currently, the federal criminal case against Ms.

Jones is set for the trial term commencing October 2, 2017.

      It is obvious that Plaintiff is using the present civil action to challenge her

arrest and ongoing criminal prosecution in this District. However, it is

inappropriate to do so. “A criminal defendant may not utilize constitutional tort

litigation to supplement—or sidetrack—the criminal proceedings. Parallel civil

and criminal proceedings create the possibility of inconsistent rulings.” Key v.

Romeoville Police Dep’t, Case No. 15 C 9266, 2016 WL 4765710, *4 (N.D. Ill.

Sept. 13, 2016) (quoting Rankins v. Winzeler, No. 02 C 50507, 2003 WL

21058536, *6 (N.D. Ill. May 9, 2003)). As stated in Key, a “final judgment in a

criminal proceeding could bar the defendant’s civil challenge to the lawfulness of

a search that the defendant unsuccessfully contested in [her] criminal

proceedings, but a judgment in a civil suit cannot bind the United States in

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criminal proceedings where the United States was not a party to the civil suit.”

2016 WL 4765710 at *5.

      In the present civil action, the identity of the named Defendants and their

role in the case are far from clear. As the United States is technically not a party

to the present civil suit, it is unclear how this Court could grant the requested

relief, such as dismissal of the criminal case against Ms. Jones, even ignoring

any deficiencies in the Complaint as pled. Any challenges relating to the pending

federal criminal case should be raised by filing a proper motion in that case or

filing an appeal. See Green v. Richardson, No. 09–3234-RDR, 2009 WL

4049973, *2 (D. Kan. Nov. 20, 2009) (“This and any other defense he may have

to the criminal charges against him can and must initially be raised in the criminal

matter, and on appeal to the Eighth Circuit Court of Appeals, as necessary and

as permitted. . . . To allow petitioner to bring the same claims before another

judge in a collateral proceeding would not only waste judicial resources, but

would encourage judge shopping.”); see also Thompson v. Robinson, No.

13–3327, 565 F. App’x 738, 739 (10th Cir. May 6, 2014) (“[Petitioner] asserts a

Kansas judge violated his Fourth Amendment rights by issuing unconstitutional

search warrants and authorizing unconstitutional wiretaps. He also claims that

the state of Kansas violated the Extradition Act and his Fifth Amendment due

process rights by turning him over to federal jurisdiction. Because these claims

relate to [petitioner’s] pending federal case, our concern for judicial economy

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dictates that he must exhaust them before the presiding judge . . . , or on appeal

after his conviction.”); Whitmer v. Levi, No. 07-4823, 276 F. App’x 217, 218-19

(3d Cir. Apr. 28, 2008) (per curiam) (summarily affirming the district court’s order

closing the habeas corpus civil action pending the outcome of the criminal case

because “[w]here a defendant is awaiting trial, the appropriate vehicle for

violations of his constitutional rights are pretrial motions or the expedited appeal

procedure provided by the Bail Reform Act, 18 U.S.C. § 3145(b), (c), and not a

habeas corpus petition.”).

       In light of the pending criminal proceedings against Plaintiff, the

undersigned recommends that this case be dismissed without prejudice. As

such, the undersigned does not address Plaintiff’s Application, but notes that it is

deficient because, inter alia, it has not been notarized.

       Accordingly, it is respectfully RECOMMENDED that:

       1.     The Application (Doc. 1) be DENIED and the case be DISMISSED

without prejudice.

       2.     The Clerk of Court be directed to terminate any pending motions and

close the file.

       DONE AND ENTERED at Jacksonville, Florida, on September 21, 2017.




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Copies to:

The Honorable Brian J. Davis
United States District Judge

Pro Se Plaintiff




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